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 8                                UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                       No. 2:04-cr-0019 MCE AC
12                     Respondent,
13          v.                                       ORDER
14   TRUNEL BUTLER,
15                     Movant.
16
17          Movant, a former federal prisoner proceeding pro se, has filed a motion to arrest judgment

18   pursuant to Federal Rule of Criminal Procedure 34. ECF No. 200. The matter was referred to a

19   United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On October 24, 2016, the magistrate judge filed findings and recommendations herein

21   which were served on movant and which contained notice to movant that any objections to the

22   findings and recommendations were to be filed within twenty-one days. ECF No. 218. Movant

23   has filed objections to the findings and recommendations. ECF No. 220.

24          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   Court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

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 1            Accordingly, IT IS HEREBY ORDERED that:
 2            1. The findings and recommendations filed October 24, 2016 (ECF No. 218), are
 3   ADOPTED in full.
 4            2. Movant’s motion to arrest judgment (ECF No. 200) is DENIED.
 5            IT IS SO ORDERED.
 6   Dated: January 4, 2017

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